
709 S.E.2d 917 (2011)
STATE of North Carolina
v.
Keith Bruce CADY.
No. 137P11.
Supreme Court of North Carolina.
June 15, 2011.
Sue Genrich Berry, Wilmington, for Cady, Keith Bruce.
M. Lynne Weaver, Assistant Attorney General, for State of North Carolina.
C. Colon Willoughby, Jr., District Attorney, for State of North Carolina.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Defendant on the 5th of April 2011 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed ex mero motu by order of the Court in conference, this the 15th of June 2011."
